5:19-cv-05185-TLB-CDC Document 232 Filed 11/05/21 Page 1 of 7 PagelID #: 3319

UL, Irie Sales District (ouct
Western Dishact of Mle.

(9: 5183/20: SOLS
Raet +.
Motor p> Rohte ECE 220 221273 ach hespoad

ho The fro ropased_ Motor to Dring: sos herein

 

 

 

Even Hough the LAFiASIC Nature ok fa plaink Opgunaeat, Som e-

[; p O. es ecuhon
peshaints upaa the pliraklt aad Tha pute. phil be Mle la eae one.

ust | “3 in

0 Tet peeet for

 

leon! a anatile dll gate ke haan Mh, wma
(pacha olan (CEISSeIPI Jomo tf not all must be cred Seal

ae wey graye anon ioe astatee

 

 

hve a ee (Ss Mé “ Libba this ae fhe ihe

Tesh han cf iL aie [sok

 

 

 

 

“To Some exheat,
Contestants tho ace able 4 ee with

 

 

abenraath, ot fe baldle and_S On ntcy aotg gael be

 

 

 

 

ha a ob be Me pat iy

Wolffv. MBDoanell, EUS. 539 9¢ Sf 2163 of 2781

 

leakacy fhe Meh of spect indi vidvels, MS. Showsas ard ofher~

 
      

y Vher pole, anol 4 doe va mac jrkl Aes fats
gam Bice wf fe tov inter dethron here. hy. Sypwrioderdluat

 

 

 

!

Mass. Correctronal Inst, bdpale v.Ull 422 VS. YYS/0SLG of 2777 0”
A Q Case|5:19-cv-05185-TLB-CDC Document 232 Filed 11/05/21 Page 2 of 7 PagelD #: 3320

 

Phe ps [Lhe Ame hes Cone. Tos fhe prblens of atl tashtokeonr

 

 
   

—— ie bra ibe a fer olen of el Tinhorethe vvoliel®
1 The at Cnvvomunt Le. KG of J ‘ao to we hd
oes: LST Cuad ( bldt, Of MAN, Shale ( the eM ff *
as to te claims Sbloth anc ollow i avoidlence] i Si Eni
Lt bacry frig ‘oS SZS a

reba: if ben valricle bE. M Dorrell, Es 5 £4, 5,8(22)_

 

 

(eabeacy é he lel ab. pec Md: Adak WS. [rons cad ofber
tel even as obucogine ap | within fhe art of how, fla: rahe

Is aura Prot “Chucks revieire.. is Aiserebionary ack dogerle on

NUMeaS kkk] ote fren hoo. Paceivedh rari re tt = be

to, | ebeadials and Counsel cckons. Lose MPH 4 VS 600. 616-67

"oS 2457 AT 4 LG. BY (14%)
Mere, plese apoemiele all of As ee eZ
hose. w shasauned Post. tod. 6 nan abmlue eral manner, bA fo
palsconstrve. tho reel words gad thlemenky of at Tonedbear. bockeol
bdaich brouht us to fax Wry poiat, 15 not teh bccphenad (Nepal
ha En or a Shold do. Lor Ass Ord
Gad_tts pockes- pressat and absent - Cor easily Puck fre large
dipesity o fhe ‘bi L shes at for. Sliohsest of caagls lepcaice.
te olbiadants Gok. Agni hawt hishay of pur Condo
aS alleged, eventhroue h i Upon bndlividuc.(¢ # [eenacaeat [ere
doavich oli). Tass Case need fo a Ltt And. obi yedicicl reivhin)
he ’ of! uch, nd. : VG,
tach. Gnd is, ofl sive f day modem Sterclerd Theva, digity..
y Bosley, 444 U.S, 354 23 1005 EA 2AS 7H

 

 

 

 

 

   
%

Case

a

%:19-cv-05185-TLB-CDC Document 232 Filed 11/05/21 Page 3 of 7 PagelD #: 3321

 

Hf § not YyArtasonh hone fr Si :
frons on intellects! as receonized counsel nl ob tt te being

fo ty (buds cbberkion fra ces of prowdue. fet shoul Se Allowed

 

 

inal outs and fo acknocledye He lack a
Phe Socal. lves- of SO peay only sess ca afonement ab od:

 

 

 

thet cost Are 2 Quake) woiller fpuor,
outcome * “Ud. )
te Cure. back lard tit mats ond con

 

 

—_______ be VALAIS § alc bly Y hod. On the ot i TCL Matis

 

he be =p lees te eee Gand. even frost hobind Lhe Fen blue.

 

 

lice ail sh tina alia ch sendlepceain 8 fas

   

 

 

 

Oily ley” Go ee Barn iC Chat feo
268, on see

   

 

 

 

 

 

 

 

 

4 | ATEN LUG LT 4 Dit he. LAL Sb
rYOCTENCE Por re Koc, \ 1 US il cd ( <i sya: c 19 hee
. G
nf OS Lad A» 198. , hows 1 if Trng Cy 9 estnie dackod L- ccxes OF nies
truly nohonc\ NAPOCT SOUT) CO TE TONGA ANS LATA Or wore lecrol ees
7 ~
DYROIMS _ oped THcnar Tne, Ux ck _Ogim mi TUin Hais

 

artic het dasha annie. STi fee UA a Hc ties
\ at m OPOCOALY Gry the re KRaloas © nicM © AC} shea L SYS idan I

_ -~ 4
eter LLM IAG SOA DON mck WOUrlin 6 4 hxe e Rel OA TRE PD hana

  

aduisery Opinton,

 

 

 

vickes of pukiaal atlecrt ihandenyif a antral delat
6:19-cv-05185-TLB-CDC Document 232 Filed 11/05/21 Page 4 of 7 PagelD #: 3322

 

| od fg eit Con talk ance ip fe ye GQ
ahwoct bescing Upoa he. hic ntena. of iashtyhenal_ordac, al

 

orclorty Care. with whi ch aaas OAS _are male by, Llewsec or

 

 

 

 

 

 

 
 

od sivledd

Pabigianous v Barhor, Sieh oe KD.

 

 

 

   
 

 

 

 

 

 

 

5 Tha Chit Josheo nokel in_Momisgey v. Brewer 46
US, of 484,92 SO cf 2002, “Loar ios
ill enhance Ae. Chance. of oh le Sy Guoidon a
é rechons fo acbtenness. Lt L pis Is not to Sey, y QumesTor
oo ___ltnaploeck. achons Ah inenionclly ehsse tiny proces, bt ito Je
y rest incerarchor of packopoods anfa lee Edibitf) — |

 

there, hence tre /60

Instloboas i in todays ay are no looper placed within thar puke

oes. at ie Gn cn
Phot tras estebhshod in [790,. Pie / Justice. and. lorrechion

CS-06 (1960 ). Eun ier pena sho dale ee sh \ as!

pailkry lock-she packet and Shue labor” * upedl fo. break

 

 

Prdivitlucds sere Aacksed Aecsh hredorord _eveathouyh Ht produak
ar have. aa nbterd. ra lft

. a) administerbon, (whi inysosed. Punisher cate.» 2
Ae en or a 7S t

 

 

 

 
S Case [5:19-cv-05185-TLB-CDC Document 232 Filed 11/05/21 Page 5 of 7 PagelD #: 3323

yw

 

The bscoas 4 Se hérmec, A- bobrswbs, ish nuer cndreBhacle
Vadcifritter she poy have lost Ais mi ect
4

addichoa + pro seri

ood and Dry Alenraiskehon and the pharrnacerheal Companies
the hove nots Antcdod. pillraas of then rh the Sfks -
Gand thet persons drive, doleranchoa aad_perrvil of
happiness; 2) Courts Caonot bethely cleker be Yra supped
experts. of govern mente! oetals chor it conus fo Kee
eet pains! yes penn Ae ae Central evifs/.. 7
Vi t sed admin she hve. |

é IE crealedL to he procly toned
4 catook , inexperrena , Naive. ead__Crim meal mindhemedl

( [ Cones r

perssanel ssh dealt] dredly L2ith. [Hrs ] pac
" Licseh Ee Millenean Vheonshtutoneliy ot Para [42
S Wh b, Rew. FAS, Gll-Ble (1468) _—

(horefove_, pleiwht¥ pays for Ais oleing 5 4 proceed. <pucast a.
Inlerbionclly nanred packey Acvleled to indude. Counsel
of, «criminal Soachoas f be brought

—_____epinst peanod_cbrteadacifs, uf focacial relief, GS pleed.
Phin the Comakant (ECE13 */])' rence fo prove |

 

     

 

 

 

 

 

 

     

 

 

 

 

 

 

 

 

 

 

‘a 5 inkeeted gad inkelbchl |
adly sor hf hesonk, enh never /ecSishel.
Lait Qa LOaCIND iNecaf Or wntewshl indent to harass . Gusedilay Or
Oo oO /
Hwrecslen any 0n0... eh =" Sn
tt foes rs Laspedfe by fey aa
7206 W.72 —_

 

 

 

 

 

Pine Bluff, Ag. 71G0% Ll sagans gH,

 
Case |5:

5:19-cv-05185-TLB-CDC Document 232 Filedt4/0624+—Page-cotPagetD #: 3324

Edna's 24

 

/otZ Be fM o 0 ep UME Spo ILL AN
Akh be appreciedvon of your dedialoa c cand ichas Lach
Your respecded authority.
| eset Ihab expen , ia no koey did Tee nad da try te
inhardele ,Ayretea or haresr your. cMnincde sadn Ap wwithin Ae

leurts or yo) Al 4 perka. / bt oathy cH fo Sie yas ar

Adyane Aide Hef [cad adyart my Shading — te

 

 

4} ad

al

&

Reo iment- it nood. be, | havo Soecd you rezawed 2 oa
#9. U ad Prat ya) purposely <7 uconsaml bo i + Gdn.

| Anh _Cover yp yo ae bales aduch. (risk vs. cessed)
Ewes Ga honst aber! at aa hehxen fon pope.
One. of pahich (S

oat on all Lawls, expociely i i
chords, no-nachlr Heir py
A be local a met arin ALerent aeaebedts,. You —
night hae rtackd Ino ~All
Ged as fo hay Qdueacemen-- hain bnkeleco.. As well, Loos
pacbdyiag fw of te tosh, GS fs
tongs

.

ny pect fabs ce pos

 

eontap yar ve Bhosily,

|

 

In Jory toc any i. ciated Dodcdions
Yau gobherad. [; Ao, really i dae atte met under

 

Seperate Condot an alloeccake as. Tas tec

mer are thy /

 

at you tay evertho did rot lars Fe 0CuP o¢
Balled. Loa byes pr lab es Cilen, Y so oud you

Could build defers rourd yourgll anak yoor pecsanel prvledtvay

 

 

 

Se you could protect. your _fepubake oA Gad possible Career,

 

 

 

Pranks UO never acai. fra Seckear of RCM of ECE 2,22! of CCS) |
Case

6:19-cv-05185-TLB-CDC Document 232 Filed 11/05/21 Page 7 of 7 PagelD #: 3325

 

Gy Maybe it 7S my Faull, for thinking cod believing Prod Vou)

 

bx & Ouing pea, Ach oal, had ilenkaas h wes ashe Was

 

rgkt ard. Sst Or ust maybe Pris ds Why | Seen A hill
fea foucle pho Steals, her and chads, 7

 

» Sea hn such on )ynarart , (aive aod. gullible. hacen that

a tre beh ef fact of childtlo uadorstardlig, Or an la

 

Mactssus ¢ |) lecvo dink to dou Court Goh yos Sto dude .

 

| + fons my
pasikon ot iw Kei witha é barracks, bohind ¢ clars and

 

 

 

 

 

Prank 5 ‘SS to he. ln

 

fuk on N00 “ dos’,

 

prda. chant leh mei is of Macca CLE ' ¢ Fg A, (70%

 

| dackre under penclky of perjury | pursuent ty 28 OSC,

 

© |, thet Jno Foveging os tral sail galt Me he

 

haert,

 

 

 

 

 

 

 

1 | el OT be opp

 

. ve fra Cvpassien
oR cut; [nu rea Suey 1? .

 

( deuly ofPadud hor

 

 

 

 

 

 

 

 

 
